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                           EXHIBIT 1
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                                                                                                                        RFM / ALL
                                                                                                     Transmittal Number: 24099380
Notice of Service of Process                                                                            Date Processed: 11/22/2021

Primary Contact:           Kaarel Kotkas
                           Veriff Inc
                           Veriff, Niine 11
                           Tallinn, EE 10414
                           EE

Entity:                                       Veriff Inc
                                              Entity ID Number 3789695
Entity Served:                                Veriff, Inc.
Title of Action:                              Anthony McGowan vs. Roblox Corporation
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Class Action
Court/Agency:                                 DuPage County Circuit Court, IL
Case/Reference No:                            2021L001202
Jurisdiction Served:                          DE
Date Served on CSC:                           11/19/2021
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                           EXHIBIT 2
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                           EXHIBIT 3
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        IN THE CIRCUIT COURT OF THE EIGHTEENTH JUDICIAL CIRCUIT
                        DUPAGE COUNTY,ILLINOIS candiceAdams
                                                                       e-filed in the 18th Judicial Circuit Court
                                                                       DuPage County
                                                                       ENVELOPE: 15589578
    ANTHONY MCGOWAN; A.M., a Minor,                   )                2021L001202
    by and through his Guardian ANTHONY                                FILEDATE: 11/12/2021 8:32 PM
                                                      )                Date Submitted: 11/12/2021 8:32 PM
    MCGOWAN; and W.G., a Minor, by and                )                Date Accepted: 11/15/2021 1:59 PM
    through his Guardian WALTER                       )       No.      KS
    GALLIGAN!, individually and on behalf             )
    of similarly situated individuals,                )       Hon.         2021L001202
                                                      )
           Plaintiffs,                                )
                                                      )       JURY TRIAL DEMANDED
                           v.                         )
                                                      )
    ROBLOX CORPORATION, a Delaware                    )
    corporation; and VERIFF, INC., a                  )
    Delaware corporation,                             )
                                                      )
           Defendants.                                )
  _______________                                     )

                                CLASS ACTION COMPLAINT

        Anthony McGowan; A.M., a minor, by and through his Guardian Anthony McGowan; and

W.G., a minor, by and through his Guardian Walter Galligani, (collectively "Plaintiffs"),

individually and on behalf of other similarly situated individuals, bring this Class Action

Complaint against Defendants Roblox Corporation ("Roblox") and Veriff, Inc. (''Veriff")

( collectively "Defendants"), for their violations of the Illinois Biometric Information Privacy Act,

740 ILCS 14/1, et seq. ("BIPA"), and to obtain redress for all persons injured by Defendants'

conduct. Plaintiffs allege the fol1owing based on personal knowledge as to their own acts and

experiences, and as to all other matters, upon information and belief, including an investigation

conducted by their attorneys.




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                                         INTRODUCTION

        1.      Plaintiffs seek redress for Defendants' unauthorized collection of their biometric

information and to represent classes of individuals who had their unique facial biometrics used

witliout th.eir valid consent or authorization by Defendants when they interacted with Defendants'

identity veri£'ication technology.

        2.      On behalf of themselves and the proposed Classes defined below, Plaintiffs seek an

injunction requiring Defendants to comply with BIPA, as well as an award of statutory damages

to the Classes, together with costs and reasonable attorneys' fees.

                                              PARTIES

        4.      At aIl relevant times, Plaintiff A.M., a tninor, and his Guardian, Plaintiff Anthony

McGowan, have been residents and citizens of the state of Illinois.

        5.      At all relevant times, Plaintiff W.G., a minor, and his Guardian, Walter Galligani,

have been residents and citizens of the state of Illinois.

                Defendant Veriff, Inc. is a Delaware corporation that conducts business throughout

Illinois, including in DuPage County, Illinois.

        7.      Defendant Roblox Corporation is a Delaware corporation that conducts business

throughout Illinois, including in DuPage County, Illinois.

                                 JURISDICTION AND VENUE

        8.      This Court may assert personal jurisdiction over Defendants pursuant to 735 ILCS

5/2-209 in accordance with the Illinois Constitution and the Constitution of the United States,

because Defendants conduct business within this state and because Plaintiffs' claims a.rise out of

Defendants' unlawful in-state actions, as Defendants captured, collected, stored, used and profited

from Plaintiffs' biometric identifiers and/or biometric information in Illinois.
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         9.     Venue is proper in DuPage County, IlIinois pursuant to 735 ILCS 5/2-101, because

Defendants conduct business in DuPage County, Illin.ois, and thus reside there under § 2-102.

                     THE BIOMETRIC INFORMATION PRNACY ACT

         10.   "Biometrics" refers to a"biology-based set[s] of ineasurements." Rivera v. Google

Inc., 238 F. Supp. 3d 1088, 1094 (N.D. Ill. 2017). Specifically, "biometrics" are "a set of

measurements of a specified physical component (eye, finger, voice, hand, face):'Id. at 1296.

         11.   BIPA was enacted in 2008 in order to safeguard individuals' biometrics as the result

of the "very serious need [for] protections for the ci.tizens of Illinois when it [comes to their]

biometric information:" Illinois House Transcript, 2008 Reg. Sess. No. 276. BIPA is codified as

Act 14 in Chapter 740 of the Illinois Compiled Statutes.

         12.   As set forth in BIPA, biologically unique identifiers, such as a person's unique

facial geometry, cannot be changed. 740 ILCS 14/5(c). The inalterable nature of biologically

unique identifiers presents a heightened risk when an individuaI's biometrics are not protected in

a secure and transparent fashion. 740 ILCS 14/5(d)-(g).

         13.   As a result of the need for enhanced protection of biometrics, BIPA imposes various

requirements on private entities that colIect or maintain individuais' biometrics, including facial

scans.

         14.   Among other things, BIPA seeks to regulate "the collection, use, safeguarding,

handling, storage; retention, and destniction of biometric identifiers and information." 740 ILCS

14/5(g). BIPA applies to entities that interact with either of two forms of biometric data: biometric

"identifzers" and biometric "information." 740 ILCS 14/15(a)-{e).

         15.   BIPA defines a"biometric identifier" as any personal feature that is unique to an

individual, including fingerprints, voiceprints, palm scans and facial geometry. "Biometric



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 identifiers" are physiological, as opposed to behavioral, characteristics. BIPA's text provides a

 non-exclusive list of protected "biometric identifiers," including "a retina or iris scan, fingerprint,

 voiceprint, or scan of hand or face geometry."740 ILCS 14/10.

         16.    "Biometric information" is defined by BIPA as "any information, regardless of how

 it is captured, converted, stored, or shared, based on an individual's biometric identifier used to

 identify an individual" Id. This definition helps ensure that information based on a biometric

identifier that can be used to identify a person is covered by BIPA. Collectively, biometric

identifr.ers and biometric infonnation are known as "biometrics."

        17.     In BIPA, the Illinois General Assembly identified five distinct activities thatmay

subject private entities to liability:

                a.       possessing biometrics without a proper policy publicly available, 740 ILCS
                         14/15(a);

                b.      collecting, capturing, purchasing, receiving, or obtaining biometrics
                        without valid consent, 740 ILCS 14/15(b);

                C.      selling, leasing, trading, or profiting from biometrics, 740 ILCS 14/15(c);

                d.      disclosing or disseminating biometrics, 740 ILCS 14/15(d); and

                e.      failing to secure biometrics using a reasonable standard of care, 740 ILCS
                        14/15(e).

        18.     As the Illinois Supreme Court has held, BIPA "codified that individuals possess a

right to privacy in and control over their biometric identifiers and biometric information."

Rosenbach v. Six Flags Entm't Corp., 2019 IL 123186, ¶ 33, 129 N.E.3d 11.97, 1206 (lll. 2019).

The Illin.ois Supreme Court further held that when a private entity fails to comply with BIPA "that

violation constittites an invasion, impairment, or denial of the statutory rights of anyperson or

customer whose biometric identifier or biometric information is subjeet to the breach." Id.




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                              COMMON FACTUAL ALLEGATIONS

         19.     In order to provide its clients with biometric authentication services, Defendant

Veriff developed a biometrically-enabled Application Programming Interface (or "API").

         20.     Defendant Veriff works with its clients to incorporate its API platf.orm into their

 mobile or internet-based appiications, where it collects and analyzes individuals' facial biometrics

 in order to authenticate their identities for its clients.

         21.     Veriff's API performs its identity verif cation by requiring the user to present some

form of identification that features a picture of thenr face from which it collects a facial biometric

blueprint, and then obtaining a"selfie" from a live picture of the user's face that it uses to collect

a separate facial biometric blueprint, which it then compares to the one obtained from the

identifying document. If Veriffls API determines that the facial biometrics from the two sets of

pictures match, the user's identity is verified.

         22.     For example, Defendant Roblox utilizes Veriff's API platform to perform identify

verification as part of the age screening process for users of its popular video game platform titled

"Roblox."

         23.     Defendant Robl.ox is a video game developer most wi.dely known for the

development of its game platform titled "Roblox." Roblox is a mobile application that can be

installed on mobile phones and tablets that permits players access to thousands of games that are

created on its Roblox platform. While Roblox featLues racing, adventure, action, and many other

types of games, all of the games exist on the Roblox platform and feature a distinctive low-

resolution "block" design that minimizes the realism of the games and makes them more

appropriate for its players, the majority of whom are minors.




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        24.     Defendant's Roblox game boasts a daily active user rate of 43.2 million as of the

 second quarter in 2021.1

        25.     To allow its users to coinmunicate with one another, Roblox has traditi.onally had

 a chat function that allows users to talk to one another through written text communication. In an

 effort to enhance its Roblox platform and allow players a more connected playing experience, in

 September 2021 Roblox began to release a"Spatial Voice Feature" which allows its players to

 communicate with each other via their device's microphone so that it is as if they were talking to

each other in the real worid.2

        26.     However, because the vast majority of its players are under the age of 18, with

 nearly half of its player base under the age of 13, in an effort to protect its younger players from

potentially age-inappropriate language that might be heard through its Spatial Voice Feature,

Roblox wor.ked with Veriff to implement a biometric authentication API to ensure that only users

over the age of 13 would have access to the Spatial Voice Feature3

        27.     However, even though thousands of Roblox's players are Illinois residents,

Defendants failed to 'implement necessary provisions to ensure that they complied with BIPA's

requi.rements before obtaining their facial biometrics.

                              FACTS SPECIP`IC TO PLAINTIFFS

        28.     For example, in or about September 2021, Plaintiff A.M accessed his Roblox game

account on a desktop computer to enable social capabilities, including RobIox's Spatial Voice




1 www.statista.com/statistics/I192573/daily-active-users-global-roblox/.
'- https://developer.roblox.com/en-us/articles/spatial-voice.
3 www.techtimes.com/articles/265654/20210921/roblox-launches-age-verification-process-
spatial-voice-user-generated-content.htm.
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Feature. At this time, Plaintiff was asked to "Verify His Age" and was forwarded to an "Identity

Verification" prompt that, as shown below, required him to scan a QR code using his ce11 phone.




       29.     When Plaintiff A.M. scanned the QR code on Roblox's website his cell phone

browser was forwarded to "roblox.com/verify", which featured the below prompt and hosted

Defendants' biometric identity verification API.
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        30.     After Piaintiff A.M. went forward with starting the identity verification "session,"

as shovvn below, he was prompted to take a photo of valid photo ID document.




        31.     PlaintiffA.M. asked his father and Guardian, Plaintiff 11+icGowan, for his driver's

license to complete Defendants' verification process, which Plaintiff McGowan provided.

        32.     Upon taking a picture of Plaintiff McGowan's driver's license, Defendants'

biometric identity verification API extracted a biometric blueprin.t of Plaintiff McGowan's face

from the photo on his driver's license.

        33.     After providing Plaintiff McGowan's driver's license, as the last part of the

verification process, Plaintiff A.M. was finally asked to take a selfie picture. Upon taking a self e

picture of his face, Defendants' API extracted a biometric blueprint of Plaintiff A.M.'s face from

his sel.fie to compare it to the one extracted from Plaintiff McGowan, and accepted Plaintiff A.M.'s

verification.

       34.      In or about September 2021, Plaintiff W.G. similarly went through the process of

verifying his identity to enable Roblox's Spatial Voice Feature.

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        35.     Plaintiff W.G. interacted with the same prompts shown above that Plaintiff A.M.

 had to complete.

        36.     When.Plaintiff W.G. was asked to provide a picture of a valid photo ID document,

he similarly asked his father and Guardian, Walter Galligani, for his driver's license.

        37.     Mr. Galligani provided his driver's license to Plaintiff W.G., who proceeded to take

a picture of it to submit through Defendants' verification process.

        3$.     As with Plaintiff McGowan's driver's license, Defendants' biometric identity

verification API extracted a biometric blueprint of Mr. Galligani's face from the photo on his

driver's license.

        39.     After providing his father's driver's license, Plaintiff W.G. was asked to take a

selfie picture. As with Plaintiff A.M., upon taking a selfie picture of his face, Defendants' API

extracted a biometric blueprint of Plaintiff W.G.'s face from his selfie to compare it to the one

extracted from his father's driver's license, and accepted Plaintiff W.G.'s verification.

        40.     Accordingly, Plaintiffs, like the other members of the Classes, had their facial

biometrics collected, captured, and transmitted by Defendants' API platform

        41.     However, as shown above, Defendants failed to obtain valid written consent as

required by BIPA to collect such biometric identifiers.

        42.     In addition, at the time Defendants collected and came into possession of Plaintiffs'

facial biometrics, Defendant Roblox failed to make publicly available any written policy as to its

retention and deletion practices regarding the biometrics in its possession.

        43.     Finally, Defendant Veriff unlawfully profited from the facial biometrics it obtained

from Plaintiffs and the other members of the Classes. On information and belief, Roblox contracted

with Veriff to provide biometric identity verification services either at a set flat cost or on a per-



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 user basis and thus Veriff profited directly from Plaintiffs' and other Class members' biometric

 data.

                                      CLASS ALLEGATIONS

         44.      Plaintiffs bring this action on behalf of themselves and two classes of similarly

 situated individuals pursuant to 735 ILCS § 5/2-801 as defined below:

         The RobIox Class: All persons within the state of Illinois whose facial biometric identifiers
         or biometric information were collected, captured, stored, disseminated, transmitted or
         otherwise used by Roblox Corporation any time within the applicable limitations period.

         The Veriff Class: All persons within the state of Illinois whose facial biometric identifiers
         or biornetric information were collected, captured, stored, disseminated, transmitted or
         otherwise used by Veriff, Inc. any time within the applicable limitations period.

         45.      Excluded from the Classes are any members of the judiciary assigned to preside

over this matter, any officer or director of Defendants, and any immediate family member of such

officer or director.

         46.      There 'are thousands of inembers of the Classes, making the members of the Classes

so numerous that joinder of all members is impracticable. A.Ithough the exa.ct number of inembers

of the Classes is currently unknown to Plaintiffs, the members can be easily identified through

Defendants' records.

         47.      Plaintiffs' claims are typical of the claims of the Classes they seek to represent,

because the basis of Defendants' liability to Plaintiffs 'and the Classes is substantially the same,

and because Defendants' conduct has resulted in similar injuries to Plaintiffs and to the members

of the Classes.

         48.      There are many questions of law and fact common to the claims of Plaintiffs and

the Classes, and those qtiestions predominate over any questions that may affect individual




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members of the Classes. Common questions for the members of the Classes include, but are not

limited to, the followang:

             a. Whether Defendants collect, capture, or otherwise obtain facial biometric
                identifiers or biometric information from Illinois residents;

             b. Whether Defendants obtained a valid written release before capturing, collecting,
                or otherwise obtaining facial biometric identifiers or biometric information;

             c. Whether Defendant Veriff profited from the facial biometrics it captured from the
                members of the Classes;

             d. Whether Defendant Roblox maintained a publicly available policy regarding the
                facial biometrics it captured from the members of the Roblox Class;

             e. Whether Defendants' conduct violates BIPA;

             f. Whether Defendants' BIPA violations are vvillfial or reckless; and

             g. Wh.ether Plaintiffs and the Classes are entitled to damages and injunctive relief.

       49_      Absent a class action, most me.mbers of the Classes would find the cost of litigating

their claims to be prohibitively expensive and would thus have no effective remedy. The class

treatment of common questions of law and fact is superior to multiple individual actions or

piecemeal litigation in that it conserves the resources of the courts and the litigants and promotes

consistency and efficiency of adjudication.

       50.      Plaintiffs wil.l fairly and adequately represent and protect the interests of the other

members of the Classes they seek to represent. Plaintiffs have retained counsel with substantial

experience in prosecuting complex litigation and class actions, including BIPA class actions.

Plaintiffs and their counsel are committed to vigorously prosecuting this action on behalf of the

other members of the Classes and have the financial resources to do so. Neither Plaintiffs nor their

counsel have any interest adverse to those of the other mernbers o£ the Classes.




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        51.     Defendants have acted and failed to act on grounds generally applicable to Plaintiffs

 and the other members of the Classes, requiring the Court's imposition of uniform relief to ensure

 compatible standards of conduct toward the members of the Classes and making injunctive or

 corresponding declaratory relief appropriate for the Classes as a whole.

                                           COUNT I
       Violations of the IIlinois Biometric Information Privacy Act, 740 ILCS 14/15(a)
                             Against Defendant Roblox Corporation
                        (On behalf of Plaintiffs and the Roblox CIass)

        52.     Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

        53.     Defendant Roblox is a private entity under BIPA.

        54.     As discussed above, Plaintiffs and the other Roblox Class members have had their

facial biometrics captured and collected, and thus obtained and possessed, by Defendant Roblox

through its biometric identity verification API.

        55.     Section 15(a) of BTPA requires any entity in possession of biometric identifiers or

biometric information to "develop a written policy, made available to the public, establishing a

retention schedule and guidelines for permanently destroying biometric identifiers and biometric

inform.ation when the initial purpose for collecting or obtaining such identifiers or information has

been satisfied or within 3 years of the individual's last interaction with the private entity, whichever

occurs first." 740 ILCS 14/15(a),

        56.     Though Defendant Robiox has come into possession of Plaintiffs' and other Roblox

Class mennbers' f.acial biometric identifiers and/or infonnation, it has failed to make publicly

available any policy addressing its biometric retention and destruction practices.

        57.     As a result, Defendant Roblox has violated Section 15(a) of BTPA.

        5&.     Defendant Roblox knew, or was reckless in not knowing, that, its utilization of a

biometric identity verification API, which thousands o£ Illinois residents interacted with, would


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be subject to 15(a) of BIPA, a statutory provision passed in 2008, yet failed to comply with the

statute.

           59.      BIPA provides for statutory damages of $5,000 for each willful and/or reckless

violation of BIPA and, alternatively, damages of $1,000 for each negligent violation of BIPA. 740

ILCS 14/20(1)-(2).

           60.      Defendant Roblox's violations of Section 15(a) of BIPA, which has been in effect

since 2008, were knowing and witlfial, or were at least in reckless disregard of the statutory

requirements. Alternatively, Defendant negligen.tly failed to comply with Section 15(a) of BIPA.

           WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Roblox Class,

respectfully request that this Court enter an Order:

                 a. Certifying the Roblox Class as defined above, appointing Plaintiffs as class

                    representatives and the undersigned as class counsel;

                 b. Declaring that Defendant Roblox's actions, as set forth herein, violate BIPA;

                 c. Awarding injunctive and equitable relief as necessary to protect the interests of

                    Plaintiffs and the Roblox Class by requiring Defendant Roblox to comply with

                    :m
                 d. Awarding statutory damages of $5,000 for each -vvillful and/or reckless violation of

                    the BIPA, pursuant to 740 ILCS 14/20(2);           ,

                 e. Awarding statutory damages of $1,000 for each negligent violation of the BIPA,

                    pursuant to 740 ILCS 14/20(1);

                 f. Awarding reasonable attorneys' fees, costs, and other litigation expenses, pursuant

                    to 740 ILCS 14/20(3);

                 g. Awarding pre- and postjudgment interest, as allowable by law; and



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              h. Awarding such further and other relief as the Court deems just and equitable.

                                           COUNT 11
       Violations of the Illinois Biometric Information Privacy Act, 740 ILCS 14/15(b)
                                      Against Defendants
              (On behalf of Plaintiffs and the RobIoz Class and the Veriff CIass)

        61.      Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

        62.      Defendants are private entities under BIPA.

        63.      As discussed above, Piaintiffs and the other members of the Classes have had their

facial biornetrics, ea.tracted, collecteci, captured, and otherwise obtained by Defendants as a r.esult

of interacting with Defendants' biometric identity verification API.

        64.      BIl'A requires private entities, such as Defendants, to obtain infonned written

consent from individuals before acquiring their biometric identifiers or biometric information.

Specifrcally, BIPA makes it unlawful to "collect, capture, purchase, receive through trade, or

otherwise obtain a person's or customer's biometric identifiers or biometric information unless

[the entity] first: (1) informs the subject ... in writing that a biometric identifier or biometric

inf.ormation is being collected or stored; (2) informs the subject ... in writing of the specific

purpose and length of for whicb a biometric identifier or biometric information is being captured,

collected, stored, and used; and (3) receives a written release executed by the subject of the

biometric identifier or biometric infonnation ...:" 740 ILCS 14/15(b).

       65.       Each instance when Defendants' API used pictures of Plaintiffs' and the other

members of the Classes' faces for identity verification, Defendants extracted captured, collected

or otherwise obtained Plaintiffs' and the other Veriff and Roblox Class members' facial biometric

identifiers and/or information without their valid written consent and without complying with, and,

thus, in violation of BIPA.




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        66.        Defendants' practice with respect to capturing, collecting, obtaining, storing, and

 using biometrics fails to comply with applicable BIPA requirements:

               a. Defendants failed to inform Plaintiffs and the mernbers of the Classes in writing

                   that their biornetrics were being collected, prior to such collection, as required by

                   740ILCS 14/15(b)(1);

               b. Defendants failed to inform Plaintiffs and the Classes in writing of the specif c

                  purpose for which their biometrics were being captured, collected, stored, and used,

                  as required by 740 ILCS 14/15(b)(2);

               c. Defendants failed to inform Plaintiffs and the Classes in writing the specific length

                  of term their biometrics were being captured, collected, stored, and used, as

                  required by 740 ILCS 14/15(b)(2); and

               d. Defendants failed to obtain a written release, as required by 740 ILCS 14/15(b)(3).

        67.       As a result, Defendants have violated Section 15(b) of BIPA.

        68.       Defendants knew, or were reckless in not knowing, that its biometric identity

verification API technology, which thousands of Illinois residents interacted with, would be

subject to Section 15(b) of BIPA, a statutory pr.ovision passed i.n 2008, yet failed to comply with

the statute.

        69.       BIPA provides for statutory damages of $5,000 for each willful and/or reckless

violation ofBIPA and, alternatively, damages of $1,000 for each negligent violation of BIPA. 740

ILCS 14/20(1)-(2).

        70.       Defendants' violations of BIPA, a statutory provision that has been in effect since

2008, were knowing and willful, or were at least in reckless disregard of the statutory requirements.

Alternatively, Defendants negligently failed to comply with Sections 15(a) and 15(b) of BIPA_



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        WHERBFORE, Plaintiffs, on behalf of themselves and the proposed Classes, respectfully

requesta that this Court enter an Order:

              a. Certifying the Classes as defined above, appointing Plaintiffs as class

                 representatives and the undersigned as class counsel;

              b. Declaring that Defendants actions, as set forth herein, violate BIPA;

              c. Awarding injunctive and equitable relief as necessary to protect the interests of

                 Plaintiffs and the Classes by requiring Defendants to comply with B1PA;

              d. Awarding statutory damages of $5,000 for each willful and/or reckless violation of

                 the BIPA, pursuant to 740 ILCS 14/20(2);

              e. Awarding statutory damages of $1,000 for each negligent violation of the BIPA,

                 pursuantto 740ILCS 14/20(1);

              f. Awarding reasonable attomeys' fees, costs, and other litigation expenses, pursuant

                 to 740 ILCS 14/20(3);

              g. Awarding pre- and post judgrnent interest, as allowable by law; and

              h. Awarding such further and other relief as the Court deems just and equitable.

                                          COUNT III
       Violations of the Illinois Biometric Information Privacy Act, 7401LCS 14/15(c)
                                 Against Defendant Veriff, Inc.
             (On behalf of Plaintiffs and the Roblox CIass and the Veriff Class)

        71.      Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

       72.       Defendant Veriff is a private entity under BIPA.                      ,

       73.       As discussed above, Plaintiffs and the other members of the Classes have had their

facial biometrics, collected, captured, and obtain.ed by Defendant Veriff as a result of interacting

with Defendants' biometric identity veriBcation API.




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        74.       Section 15(c) of BIPA prohibits any private entity in possession of biometrics, such

as Defendant Veriff, from selling, leasing, trading, or otherwise profiting from such biometrics.

740ILCS 14/15(c).

        75.       As alleged herein, Defendant Veriff profited from the facial biometrics it obtained

from members of the Classes, including Plaintiffs, as Defendant Veriff provides its biometric

identification technology at a cost to its customers such as Defendant Roblox and others.

       76.        Accordingly, Defendant Veriff has violated Section 15(c) of BIPA.

        77.       Defendant Veriff knew, or was reckless in not lrnowing, that its biometric API

technology would be subject to the provisions of Section 15(c) of BIPA, a statutory provision in

effect since 2008, yet failed to comply with the statute.

       78.       BIPA provides for statutory damages of $5,000 for each willful and/or reckless

violation of BIPA and, altematively, damages of $1,000 for each negligent violation of BIPA. 740

ILCS 14/20(1)-(2).

       79.       Defendant Veriff's violations of Section 15(c) of BIPA, a statutoiy provision that

has been in effect since 2008, were knowing and willfizl, or were at least in reckless disregard of

the statutory requirements. Alternatively, Defendant Veriff negligently failed to comply with

Section 15(c) of BIPA.

       WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Classes, respectfuIly

requests that this Court enter an Order:

              a. Certifying the Classes as defined above, appointing Plaintiffs as class

                 representatives and the undersigned as class counsel;

              b. Declaring that Defendant Veriff s actions, as set forth herein, violate BIPA;




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            c. Awardixzg injunctive and equitable relief as necessary to protect the interests of

                Plaintiffs and the Classes by requiring Defendant Veriff to comply with BIPA;

            d. Awarding statutory damages of $5,000 for each willful and/or reckless violation of

                the BIPA, pursuant to 740 ILCS 14/20(2);

            e. Awarding statutory damages of $1,000 for each negligent violation of the BIPA,

                pursuant to 740 ILCS 14/20(1);

            f. Awarding reasonable attorneys' fees, costs, and other litigation espenses, pursuant

                to 740 ILCS 14/20(3);

            g. Awarding pre- and post judgment
                                         ZP
                                               interest, as allowable by law; and

            h. Awarding such further and other relief as the Court deems just and equitable.

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        Plaintiffs request a trial by jury of all claims that can be so tried.

Dated: November 12, 2021                                    Respectfitlly Submitted,
                                                            ANTHONY MCGOWAN, A.M., a Minor,
                                                            by and through his Guardian ANTHONY
                                                            MCGOWAN, and W.G., a Minor, by and
                                                            through. his Guardian WALTER
                                                            GALLIGANI, individually and on behalf
                                                            of similarly situated individuals

                                                           By:       /s/ Timothv P. Kingsbury
                                                                     One of Plaintfffs' Attorneys
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Timothy P. Kingsbur.y
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Attorneysfor Plaintiffs and the Putative Classes

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                            EXHIBIT 4
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         IN THE CIItCUIT COURT OF TIIE EIGRTEENTIit J-UDICIAL CIRCUIT
                          DUPAGE COUNTY, ILLINOIS Candice Adams
                                                                        e-filed in the 18th Judiciaf Circuit Court
                                                                        DuPage County
    ANTHONY MCGOWAN, A.M., a Minor,                                     ENVELpPE: 15636907
    by and through his Guardian ANTHONY                                 2021L001202
    MCGOWAN, and W.G., a Minor, by and                                  FILEDATE: 11/17/2021 11:52 AM
                                                                        Date Submitted: 11/17/2021 11:52 AM
    through his Guardian WALTER                                         Date Accepted: 11/18/2021 7:27 AM
    GALLIGANI, individually and on behalf                               KS
    of similarly situated individuals,                         No. 2021L001202

            Plainti,ffs,

                            V.                                 Hon. Bryan S. Chapman

    ROBLOX CORPORATION, a Delaware
    corporation; VERIFF, INC., a Delaware
    corporation.

            Defendants.

   PLAINTIFFS' MOTION FOR CLASS CERTIFICATION OR, ALTERNATIVELY,
   FOR A DEFERRED CLASS CERTIFICATION RULING PENDING DISCOVERY

        Anthony McGowan, A.M. a minor, by and through his Guardian Anthony McGowan, and

W.G. a minor, by and through his Guardian Walter Galligani, (collectively "Plaintiffs"), by and

through their undersigned counsel, pursuant to 735 1LCS 5/2-801, move for entry of an order

certifying the Classes proposed below, appointing Plaintiffs as CIass Representatives, and

appointing Plaintiffs' attorneys as Class Counsel. Alternatively, Plaintiffs request, to the extent the

Court detennines further evidence is necessary to prove any eiement of 735 ILCS 5/2-801, that the

Court defer consideration of this Motion pending a reasonable period to complete discovery. See,

e.g., BallaYd RN Center, Inc. v. Kohll's Pharmacy & HomecaYe, Inc., 2015 IL 118644, at ¶j 42--

43 (citing Daniasco v. Cleanvire Corp., 662 F.3d 891, 896-97 (7th Cir. 2011). In support of their

Motion, Plaintiffs submit the following Memorandum of Law.
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Dated: November 17, 2021                           Respectfully Submitted,
                                                   ANTHONY MCGOWAN, A.M., a Minor,
                                                   by and through his Guardia.n ANTHONY
                                                   MCGOWAN, and W.G., A Minor, by and
                                                   through his Guardian WALTER
                                                   GALLIGANI, individually and on behalf
                                                   of siinilarly situated individuals

                                                   By:   /s/ Timoth, P. Kingsbury
                                                         One of Plaint~s' AttoYneys
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Attorneysfor Plafntiffs and the Putative Classes




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             MEIVIORANDUM OF LAW IN SUPPORT OF PI.AINTIFFS'
          M[OTION FOR CLASS CERTIFICATION OR, ALTERNATIEY, FOR
       A DEFFERED CLASS CERTIFICATION RULING PENDING DISCOVERY

        This Court should certify two classes of Illinois residents whose biometries were obtained

by Defendants Roblox Corporation ("Robl.ox") and Verif.f, Inc. ("Veriff') in violation of the

Illinois Biometric Information Privacy Act, 740 ILCS 14/1, et seq. (`BIPA"). Defendant Veriff

provides its clients with biometric authentication services through an Application Programming

Interface ("API"). (Complaint, "Compl.," at ¶ 19.) Veriff works with its clients to incorporate its

API i.nto their mobile or internet-based applications, where it collects and analyzes individuals'

facial biometrics in order to authenticate their identities. (Id. at ¶ 20.) For example, Defendant

Roblox implemented Veriff's API into its popular mobile game platform of the same name,

"Roblox," to perform identity verification as part of an age screening process to allow players of

the game access to certain features. (Id. at 122.) In doing so, Defendants have violated BIPA

because Defendant Roblox failed to make publicly available a valid policy regarding its retention

and deletion policies for the biometrics it obtained, Defendants failed to obtain valid written

consent to gather Plaintiffs' and the other members of the classes' biometrics, and Defendant

Veriff profited from Plaintiffs' and the other members of the classes' biometrics. (Id. at ¶¶ 56, 66,

75.) After Plaintiffs "learned of Defendants' wrongfial conduct, they brought suit on behalf of

classes of similarly situated individuals to put a stop to Defendants use of their biometrics in

violation of BIPA, and to obtain redress for a11 persons injured by their condtict.

T.     INTRODUCTION: BIPA

       The Illinois Biometric Information Protection Act is designed to protect individuals'

biometrics. "Biometrics" refers to a"biology-based set[s] of ineasurements." Rfvera v. Google

Inc., 238 F. Supp. 3d 1088, 1094 (N.D. 111. 2017). Specifically, "biometrics" are `°a set of



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measurements of a specified physical component (eye, finger, voice, hand, face)." Rivera, 238 F.

Supp. 3d at 1296. Under BIPA, biometric identifers include handprints, fingerprints and

voicepi-ints; while biometric information can be defined as any information based on a biometric

identifier, regardless of how it is converted or stored. (Compl. at ¶¶ 1, 6-7.)

        In recognition of the importance of the security of individuals' biometrics, the IlIinois

Legislature enacted BIPA, which provides, inter alia, that private entities, such as Defendants,

may not obtain and/or possess an individual's biometrics unless they publish publicly and make

available a written retention schedule and guidelines for perm.anently destroying biometric

identifiers and biometric information. 740 ILCS 14/15(a); Compl. at 117. In addition, BIPA also

requires that any entities such as Defendants obtain valid written consent before receiving any

biometrics. 740 ILCS 14/15(b); Compl. at 117. Furthermore, BIPA prohibits private companies

from selIing, leasing, trading, or otherwise profiting from a person's biometric identifier or

biometric information. 740 ILCS 14/15(c); Compl. atT 17.

II.    FACTUAL BACKGROUND

        A.      The Underlying Misconduct.

       Defendant Veriff provides its clients with biometric authentication services through. an

A.PI. (Compl. at 119.) Veriff works with its clients to incorporate its API into their mobile or

internet-based applications, where it collects and analyzes individuals' facial biometrics in order

to authenticate their identities. (Id. at 20.) For example, Defendant Roblox implemented Veriff's

API into its popular mobile game platform of the same name, "Roblox," to perform identity

verification as part of an age screening process to allow players of the game access to certain

features. (Id. at ¶ 22.) Specifically, in September 2021 Defendant Roblox sought to release a

"Spatial Voice Feature" that would allow players of its game to talk to each other through their



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mobile device's microphone. (Compl. at 125.) However, because Defendant Roblox's game

platform is overwhelmingly used by players who are minors, in an effort to prevent minors from

being exposed to age-inappropriate language through the new voice chat feature, Roblox worked

with Veriff to impleinent a biometric authentication API. (Id. at ¶ 26.)

       Defendants' biometric identity verification AP1 operated by requesting that the user of

Roblox's game platform wlio wanted to gain access to the Spatial Voice Feature scan a QR code

from their account page with their cell phone that opened a webpage hosted by Roblox where. the

API operated. (Id. at 1128, 29.) The user, I.ike Plaintiffs did here, is then asked to use their cell

phone to take a picture of a government-issned identification document. (Id. at 130.) Defendants'

biometric identity verification API then extracts the facial biometric blueprint of the face featured

on the ID document provided. (Id. at ¶ 32.) Defendants' verifzcation process then asks the ii,ser to

provide, as Plaintiffs A.M. and W.G. did here, a selfie picture of their face, which Defendants'

API uses to extract another facial biornetric blueprint against which it compares the facial

biometrics that it obtained from the LD document. (Icl. at ¶ 32.)

       However, while thousands of individuals Iocated in lllinois, including Plaintiffs and the

other members of the Classes, had to undergo Defendants' facial biometric verification process,

Defendants failed to obtain valid written consent as required by BIPA to collect such biometric

identifiers. (Id. at ¶ 41.) Furthermore, Roblox failed to make publicly available a valid written

policy as to i₹s retention and deletion practices regarding the biometrics it gathered. (Id. at 142.)

Defendant Veriff also unlawfully profited from the facial biometrics it obtained from Plaintiffs

and the other members of the Classes. (Id. at ¶ 43.)




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       B.       The Proposed Classes

       Plaintiffs bring this action on behalf- of themselves and similarly situated individuals

pursuant to 735 ILCS § 5/2-801. Plaintiffs seek to represent the Classes defined as follows:

               The Robloz Class: All persons within the state of Illinois whose facial biometric
               identifiers or biometric information were collected, captured, stored, dissemin.ated,
               transmitted or otherwise used by Roblox Corporation any time within the applicable
               limitations period.

               The Veriff Class: All persons within the state of Illinois whose facial biometric
               identifiers or biometric information were collected, captured, stored, disseminated,
               transmitted or otherwise used by Veriff, Inc. any time within the applicable
               limitations period.

 (Compl. at ¶ 44.) As explained below, the proposed Classes satisfy each of the four requirements

for certification under Section 2-801 of the Illinois Code of Civil Procedure—numerosity,

commonality, adequaey of representation, and fair and efficient adjudication. A class aetion is not

just appropriate here, it is also the only way that the members of the putative Classes can obtain

appropriate redress for Defendants' unlawful conduct.

III.    ARGUMENT

        A.      Standards for Class Certification

        To obtain class certification, it i.s not necessary for a piaintiff to establish that she tivill

prevail on the merits of the action. Efsen v. Carlfsle & Jacquelzn, 417 U.S.156,178 (1974) ("[T]he

question is not whether the plaintiff or plaintiffs have stated a cause of action or will prevail on the

merits, but rather whether the requirements of Rule 23 are met." (internal quotation marks and

citation omitted)). As such, in determining whether to certify a proposed class, the Court should

accept the allegations of the complaint as true. Ramfrez v. Midway Movfng & Storage, Inc., 378

II1. App. 3d 51, 53 (lst Dist. 2007).

        To proceed with a class action, the movant must satisfy the "prerequisites for the



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maintenance of a class action" set forth in Section 2-801 of the Illinois Code o£ Civil Procedure,

which provides:

        An action may be maintained as a class action in any court of this State and a party
        may sue or be sued as a representative party of the class only if the court finds:

        (1)     The class is so numerous that joinder of ali raembers is
                impracticable.
        (2)     There are questions of fact or law common to the class, which
                common questions predominate over any questions affecting only
                individual members.
        (3)     The representative parties wilI fairly and adequately protect the
                interest of the class.
        (4)     The class action is an appropriate method for the fair and efficient
                adjudication of the controversy.

735 ILCS 5/2-801. As demonstrated below, each prerequisite is established for the Classes, and

the Court should therefore certify the proposed Classes.

        Section. 2-801 is modeled after Rule 23 of the Federal Rules of Civil Procedure and "federal

decisions interpreting Rule 23 are persuasive authority with regard to questions of class

certification in Illinois." Avery v. ,State Farm Mirt. Auto. Ins. Co., 216 Ill. 2d 100, 125 (Ill. 2005).

Circuit courts have broad discretion in determining whether a proposed class meets the

requi.r.ement for class certification. and ought to err in favor of m.aintaining class certi.fication.

Rarrcirez, 378 Ill. App. 3d at 53. While a court may rule on class certification without requiring

further discovery, see IVianual for Complex Litigation (Fourth) § 21.14, at 255 (2004), courts have

found that discovery is helpful prior to addressing a motion for class certification. See, e.g., Ballaf•d

RN Center, Inc, v. Kohll's Pharniacy 8z Honzecare, Inc., 201.5 IL 118644, at ¶ 42 ("If the parties

have yet to fully develop the facts needed for certification, then they can also ask the district court

to delay its ruling to provide time for additional discovery or investigation.") (quoting Damasco v.

CleaYwiYe Corp., 662 F.3d 891, 896 (7th Cir. 2011)).

        All the prerequisites for class certification are satisfied here, even though Plai.ntiffs have


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not yet had an opportunity to engage in and complete discovery. However, in the interests of

establishing a more fully developed record before ruiing on class certification issues, the Court

should defer ruling on this Motion pending the completion of discovery and submission of

supplemental briefing.

        E.      The Numerosity Requirement is Satisfied

        The first step in certifying a class is a showing that "the class is so numerous that joinder

of all members is impracticable." 735 ILCS 5/2-801(1). This requirement is niet when "join[ing]

such a large number of plaintiffs in a single suit woul.d render the suit unmanageable and, in

contrast, multiple separate claims would be an imposition on the litigants and the courts." Gordon

v. Boden, 224 Ill. App. 3d 195, 200 (lst Dist. 1991) (citing Stetnberg v. Chicago Mecl. Sch., 69

II1.2d 320, 337 (III. 1977)). To satisfy this requirement a plaintiff need not demonstrate the exact

number of class members but, must offer a good faith estirnate as to the size of the class. Smith v.

Nike Retail Servs., Inc., 234 F.R.D. 648, 659 (N.D. III. 2006).

       I'laintiffs allege that there are thousands of inembers of the Classes. (Compl. at 146.) In

addition, given the massive number of individuals who play Defendant Roblox's game, and the

fact that Defendant Veriff provides its biometric identity verihcation services to numerous other

entities, there is little question that there is a significant number of inembers of the Classes.

Because definitive evidence of numerosity can only come from the records of Defendants and their

agents, it is proper to rely upon the allegations of the Complaint in certifying the Classes. See 2 A.

Conte & H. Newberg, Newberg on Class Actions § 7.20, at 66 (stating that where numerosity

information is in the sole possession of the party opposing the class, courts generally rely on the

complaint as prima facie evidence or defer ruling).

       Additionally, the members ofthe putative Classes can be easily and objectively determined



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frorn Defendants' records as Defendants maintain records of all of the individuals whose identities

they verified and their contact information. Furthermore, it would be completely impracticable to

join the claims of the members of the Classes, because they are disbursed throughout Illinois, and

because absent a class action, few members could aff.ord to bring an individual lawsuit over the

amounts at issue in this case, because each individual member's claim is relatively small. See

Gordon, 224 III. App. 3d at 200. Accord'zngly, the first prerequisite for class certification is met.

       C.      Common Questions of Law and Fact Predominate

       The second requirement of Section 2-80] (2) is met where there are "questions of fact or

law common to the class" and those questions "predominate over any questions affecting only

ttzdividual members:" 735 ILCS 5/2-801(2). Such common questions of law or fact exist when the

members ofthe proposed class have been aggrieved by the same or similar misconduct. See illiner

v. Gillette Co., 87 I11:Zd 7, 19 (Ill. 1981); Stefnberg, 69 IlI.2d at 342. These common questions

must also predominate over any issues affecting individual class members. See O-Kay Shoes, Inc.

v. Rosewell, 129 Ill. App. 3d 405, 408 (I st Dist. 1984). Tliese common questions include: whether

Defendants collect, capture, or otherwise obtain facial biometrics from Illinois residents who

underwent their age/identity verification process; whether Defendant Roblox had a valid publicly

available policy regarding its retention and deletion of biometric information; whether Defendant

Veri£f profited from Plaintiffs' and the other Classes biometrics; whether Defendants failed to

obtain valid written consent to gather the facial biometrics that they obtained; whether Defendants'

conduct violates BIPA; whether Defendants' BIPA viol.ations are willf.ul or reckless; and whether

PlaintifFs and the Classes are entitled to damages and injunctive relief. (Compl. at 148.)

       As alleged, and as will be shown through obtainable evidence, during the relevant time

period Defendants engaged in a common course of conduct by collecting, capturing, storing, or



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profiting from the Classes' facial biometrics without having a valid publicly available policy in

place regarding the retention and deletion of the biometrics collected and without obtaining vaiid

consent to engage in such collection. Any potential individualized issues remaining after common

issues are decided would be de mznimis. Accordingly, common issues of fact and law predonunate

over any individual issues, and Plaintiffs have satisfied this hurdle to certification.

       D.      Adequate Representation

       The third prong of Section 2-801 requires that `°[t]he representative parties will fairly and

adequately protect the interest of the class:' 735 ILCS 5/2-801(3). The class representative's

interests must be generally aligned with those of the class members, and class counsel must be

"qualif ed, experienced and generally able to conduct the proposed litigation." See Miner, 87 III.2d

at 14; see also Eshaghi v. Hanley Dawson Cadillac Co., lnc., 214 Ill. App. 3d 995, 1000 (1 st Dist.

1991). The purpose of this adequaoy of representation requirement is "to insure that all Class

members will receive proper, efficient, and appropriate protection of their interests in the

presentation of the claim." Purcell & Wardrope Chtd v. Hert: Corp., I75111. App. 3d 1069, 1078

(lst Dist. I988).

       In this case, PlaintifPs have the exact same interests as the members of the proposed

Classes. Plaintiffs have alleged that, like the other members of the Classes, their facial biometrics

were obtained by Defendants through their biometric verification process in violation of BIPA.

(Compl. at ¶j 2839.) Plaintiffs' pursuit of this matter against Defendants demonstrates that they

wilI be zealous advocates for the Classes. Purther, proposed class counsel has regularly engaged

in major complex and class action litigation in state and federal courts and have been appointed as

class counsel in several complex consumer class actions. Accordingly, the proposed class

representatives and proposed class counsel will adequately protect the interests of the inembers of



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the Classes, thus satisfying Section 2-801(3).

        E.      Fair and Efficient Adjudication of the Controversy

        The ftnal requirement for class certification under 5/2-801 is met where "the class action

is an appropriate method for the fair and efficient adjudication ofthe controversy." 735 ILCS 5/2-

801(4). "In applying this prerequisite, a court considers whether a class action: (1) can best secure

the economies of time, effort and expense, and promote uniformity; or (2) accomplish the other

ends of equity and justice that class actions seek to obtain:" Gordon, 224 Ill. App. 3d at 203. In

practice, a"holding that the first three prerequisites of section 2-801 are established makes it

evident that the fourth requirement is fulfilled." Gordon, 224 Ill. App. 3d at 204; Pzcrcell &

Wardrope Chtd., 175 Ill. App. 3d at 1079 ("The predominance of common issues [may] make a

class action ...   a fair and efficient method to resolve the dispute."). Because numerosity,

commonality and predominance, and adequacy of representation have been satisfied in the instant

case, it is "evident" that the appropriateness requirement is met as well.

        Other considerations further support certification in this case. A"controlling factor in many

cases is that the class action is the only practical means for class members to receive redress:'

Gordon, 586 N.E.2d at 467; Eshaghi, 574 N.E.2d at 766 ("In a large and impersonal society, class

actions are often the last barricade of...protection:'). A class. action is superior to multiple

individual actions "where the costs o£ litigation are high, the likely recovery is Iimited" and

individtials are unlikely to prosecute individual claims absent the cost-sharing efficiencies of a

class action. Maxwell, 2004 WL 719278, at *6. This is especially true in cases involving data

privacy violations and data breaches, which can involve significant injury to the those effected,

but result in many small, individual claims. Here, absent a class action, most members of the

Classes would find the cost of litigating their statutorily-limited claims to be prohibitive, and



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multiple individual actions would be judicially inefficient. Maxwell, 2004 WL 719278, at*6.

        Certification of the proposed Classes is necessary to ensure that Defendants' conduc₹

becomes compliant with BIPA, to ensure that the Classes' privacy rights in their biometrics are

sufficiently protected, and to compensate those individuals who have had their statutorily-

protected privacy rights violated. Were this case not to proceed on a class-wide basis, it is unlikely

that any significa.nt number of inembers of the Classes would be able to obtain redress, or that

Defendants would willingly implement the procedures necessary to comply with the statute. Thus,

proceeding as a class action here is an appropriate method to fairly and efficiently adjudicate the

controversy.

IV.     CONCLUSION

       For the foregoing reasons, the requirements of 735 1LCS 5/2-801 are satisfied. Plaintiffs

respectfully request that the Court enter an Order certifyin.g the proposed Classes, appointing

Plaintiffs as Class Representatives, appointing McGuire Law, P.C. as Class Counsel, and awarding

such additional relief as the Court deems reasonable. Alternatively, the Court should defer ruling

on this lvlotion pending the completion of appropriate discovery and supplemental brief ng.


Dated: November 17, 2021                      Respectfully Submitted,

                                              ANTHONY MCGOWAN, A.M., a Minor,
                                              by and through his Guardian ANTHONY
                                              MCGOWAN, and W.G., a Minor, by and
                                              through his Guardian WALTER
                                              GALLIGANI, individually and on behalf
                                              of similarly situated individuals

                                              By: /s/ Timothy P. KinCs_bury
                                                 One of Plaint~  s' Attorneys




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Attorneysfor Plaintfffs and the Putative Class




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                                   CERTIFICATE OF FILING

        The undersiaed, an attorney, hereby certifies that on November 17, 2021, a copy of

Plaintiffs' MotionfoY Class Certificatfon or, Alternatively, for a Deferred Class Certification Ruling

Pending Discovery was filed eleciaronically with the Clerk of Court using the e-filing system.



                                                      /s/ Timothy P. Kingsbury_




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                            EXHIBIT 5
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                                IN THE UNITED STATES DISTRICT COURT FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS
                                              EASTERN DIVISION

            ANTHONY MCGOWAN; A.M., a Minor, by                         Case No. __________
            and through his Guardian ANTHONY
            MCGOWAN; and W.G., a Minor, by and
            through his Guardian WALTER GALLIGANI,
            individually and on behalf of similarly situated
            individuals,

                                      Plaintiffs,

                     v.

            ROBLOX CORPORATION, a Delaware
            Corporation; and VERIFF, INC., a Delaware
            corporation,

                                      Defendants.



                               DECLARATION OF KAAREL KOTKAS IN SUPPORT OF
                                          NOTICE OF REMOVAL


                     I, Kaarel Kotkas, hereby declare:

                     1.      I am the President of Veriff, Inc., (“Veriff”) a defendant in the above-captioned

            matter. I make this declaration in support of Veriff’s Notice of Removal. This declaration is

            based on my own personal knowledge. If called upon as a witness, I would and could testify

            competently to the matters stated herein.

                     2.      Veriff, Inc. was incorporated in Delaware on February 26, 2018. Veriff, Inc.’s

            headquarters and principal place of business is in the state of New York.

                     3.      Veriff does not have any offices, real estate, or bank accounts in the state of

            Illinois.
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                     I declare under penalty of perjury under the laws of the United States and the State of

            Illinois that the foregoing is true and correct.



                                     15-12-2021
                     Executed this ____________ day of December 2021 in Tallinn, Estonia.



                     By:     __________________________

                             Kaarel Kotkas

                             President, Veriff, Inc.




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                                                 CERTIFICATE OF SERVICE


                     The undersigned attorney hereby certifies that on December _________, 2021, she

            caused a true and correct copy of the foregoing DECLARATION OF KAAREL KOTKAS IN

            SUPPORT OF NOTICE OF REMOVAL to be filed electronically. Notice of this filing will be

            sent to all parties registered on this Court’s ECF system by operation of the Court’s electronic

            filing system. Parties may access this filing through the Court’s system.




                                                                    /s/ Debra R. Bernard
